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From:            Joe Castagno
To:              Dan Carpenter US
Subject:         RE: Universitas Complaint Call with Judge
Date:            Thursday, June 11, 2020 2:35:13 PM
Attachments:     image001.png


Nothing bad on Koresko, Molly had just asked me to find the ESOP documents we submitted in that case so we can show Univ
that BASI is an ESOP

Joseph Castagno
Benistar Admin Services, Inc.
10 Tower Lane, Suite 100
Avon, CT 06001
860-408-7000 ext. 5259


From: Molly Carpenter
Sent: Thursday, June 11, 2020 11:16 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>; Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-
lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>
Subject: RE: Universitas Complaint Call with Judge

Dan LaBelle is representing Molly, Don, BASI, TPG and Moonstone. I think he is hoping you and Larry will take the Carpenter
entities. One of them is Grist Mill Partners which was subject of the charging order … there is a conference with the Magistrate
Judge tomorrow.


From: Dan Carpenter US [mailto:dcarpenter@usbgi.com]
Sent: Thursday, June 11, 2020 10:05 AM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>; Molly Carpenter
<mcarpenter@benistar.com>
Cc: Joe Castagno <JCastagno@benistar.com>; Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Universitas Complaint Call with Judge

Jeff:

Thanks.....but please just call Dan LaBelle and find out what time the call with the Court is tomorrow.......I have not been
served and you will be representing the "Dan Carpenter" entities....whatever they are.....We just want to protect Molly
and BASI from this baseless harassment trying to extort a nuisance settlement.

I just don't want anyone to know that I am out .....

So please coordinate with Dan LaBelle and let him do all the talking on call with Magistrate and then we can talk
tomorrow after call with the Court???

Thanks,

Dan C.

From: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
Sent: Thursday, June 11, 2020 9:46 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>
Subject: RE: Universitas Complaint

Dan

Can we talk tomorrow at 1 PM?
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                                        Jeffrey M. Sklarz
                                        Phone: (203) 285-8545 x101
                                        Direct Dial: (203) 361-3135
                                        Fax: (203) 823-4546
                                        jsklarz@gs-lawfirm.com
        www.gs-lawfirm.com
                                        New Haven Office
                                        One Audubon Street, 3rd Floor, New Haven, CT 06511
                                        Stamford Office
                                        243 Tresser Boulevard, Stamford, CT 06901 | P: (203) 428-4907 | F: (203) 286-1311

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From: Dan Carpenter US <dcarpenter@usbgi.com>
Sent: Thursday, June 11, 2020 9:43 AM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>; Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Universitas Complaint

                                                         CAUTION - EXTERNAL EMAIL
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                                                               content is safe.
Jeff:

Pack of lies here....but don't worry. Important thing is that you and Larry get in touch with Dan LaBelle and please DO
NOT let anyone know that I am out of prison.

These people are clueless as to how dangerous this filing is to THEM and I do not want them to know that I am out.
Clearly I have not been served (I am not a party) and Molly has nothing to do with "my" trusts or entities which have not
been served either......A first year law student to tear this apart....

I know that you guys understand the "One Satisfaction Rule" so we should ask them to list all of the money they received
because that takes care of the Charging Order against CFG with Chatigny in Oct 2015. See e.g. Singer v Olympia

Please call Dan LaBelle and let me know what number I should call you at. I am at 860-573-7770. Joe Castagno is at
860-408-7000 x 5259.

Thanks,

Dan
        Case 3:20-cv-00738-JAM Document 198-2 Filed 10/15/21 Page 4 of 49




Dan LaBelle, Esq.
Halloran & Sage LLP
315 Post Road West
Westport, CT 06880

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www.halloransage.com

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From:             Dan Carpenter US
To:               Molly Carpenter
Cc:               "Jeffrey Sklarz (jsklarz@gs-lawfirm.com)"; John R Williams; gholmes@odglaw.com
Subject:          Universitas v. GMP - materials for email discovery
Date:             Wednesday, August 4, 2021 7:43:37 AM



Molly:

I think you should run this "overly broad" and "overly burdensome" request by Mike
McPherson. Jeff Sklarz will be objecting, of course, but perhaps it makes sense for Halloran &
Sage to officially object with Magistrate Spector since they represent BASI, and he is now in
charge of the Contempt Motion against me??? I certainly have no right to ask any of these
people to search for anything...much less BASI.

Please remember that we objected to the original requests as "overly burdensome" and now
they have gotten worse. Wayne Bursey died in 2015, Jack Robinson died in 2017, and Matt
Westcott left the firm in 2017??? All of the checks from Exhibit 21 are from 2014 and the
mythical account had to be set up in late 2013 or January 2014.....Right??? Curaleaf was in
the building from June 2014 to January 2020......So I think someone needs to reach out to
Magistrate Spector on this.....other than Dan Carpenter.

Thanks,

Dan


From: Dan Carpenter US <dcarpenter@usbgi.com>
Sent: Wednesday, August 4, 2021 7:19 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Fw: Universitas v. GMP - materials for email discovery




From: Ben Chernow <bchernow@jmansonlaw.com>
Sent: Thursday, July 29, 2021 7:36 PM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
Cc: Lawrence Grossman <lgrossman@gs-lawfirm.com>; Joseph Manson
<jmanson@jmansonlaw.com>
Subject: Universitas v. GMP - materials for email discovery

                                         CAUTION - EXTERNAL EMAIL
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                              recognize the sender and know the content is safe.
Jeff and Lawrence,
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Pursuant to the discovery order, please find our list of record custodians and search terms for
email production below. We apologize for the delay. We are amenable to a corresponding
extension to the production deadliine should such an extension prove necessary. The search
terms are the same for all custodians.

Search terms:

Grist Mill Partners

GMP

GM Partners

Ensign-Bickford

Ensign

100 Grist Mill

Mill Pond

Curaleaf

Lease

Building

"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"

Rent

Mortgage

Property

Tenant

Landlord

Universitas
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"creditor" or "crediter"

"judgment debtor" or "judgment debter" or "debtor" or "debter"

Lawsuit

Suit

Litigation

CFG

Carpenter Financial

Caroline

“charging order” or “order”

“restrain” or “notice” or “restraining notice”

Judgment

Moonstone

Seir Hill

Account

Bank

Transfer

Swain

Alter ego

"shell" or "sham"

"own" or "hold" or "held" or "title" and "new" or "different" or "other"
      Case 3:20-cv-00738-JAM Document 198-2 Filed 10/15/21 Page 9 of 49



Records Custodians:

Daniel Carpenter

Molly Carpenter

Kathy Kehoe

Amanda Rossi

Joseph Castagno

Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that
otherwise have no current custodian. These emails are emails sent and/or received by Wayne
Bursey, Jack Robinson, and/or Matthew Westcott.
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                                 Objections to Search Terms

General Objection:
   1. The search terms provided, when individually run, do not reasonably narrow the
      document search. Therefore, the requested production is over broad, unduly
      burdensome and disproportionate to appropriate discovery in this matter.
   2. The search terms requested to be searched result in the return of documents and
      communications that are subject to attorney client and/or work product privilege.

Response:

Notwithstanding the objections set forth above and below, responsive documents will be
provided.

Search terms:

Grist Mill Partners

GMP

GM Partners

Ensign-Bickford

Ensign

100 Grist Mill

Mill Pond

Curaleaf

Lease

Building

"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"

Rent

Mortgage

{00231153.1 }
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Property

Tenant

Landlord

Universitas

"creditor" or "crediter"

"judgment debtor" or "judgment debter" or "debtor" or "debter"

Lawsuit

Suit

Litigation

CFG

Carpenter Financial

Caroline

“charging order” or “order”

“restrain” or “notice” or “restraining notice”

Judgment

Moonstone

Seir Hill

Account

Bank



{00231153.1 }
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Transfer

Swain

Alter ego

"shell" or "sham"

"own" or "hold" or "held" or "title" and "new" or "different" or "other"




Records Custodians:


Daniel Carpenter


Molly Carpenter


Kathy Kehoe
Objection: A no time was Kathy Kehoe a record custodian of GMP.


Amanda Rossi


Joseph Castagno


Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that
otherwise have no current custodian. These emails are emails sent and/or received by Wayne
Bursey, Jack Robinson, and/or Matthew Westcott.

Objection: A no time was BASI a record custodian of GMP. This request should be directed to
BASI, not GMP.




{00231153.1 }
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       EXHIBIT
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" Reply all    !    # Delete   $ Junk      Block     (




Universitas v. GMP - Discovery Dispute

       Ben Chernow                                                                                                                                                             %    &    "     '       (
 BC    Fri 10/8/2021 9:35 AM
       To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
       Cc: Lawrence Grossman <lgrossman@gs-lawfirm.com>; Joseph Manson; Michael R. McPherson <mcpherson@halloransage.com>; Dan E. LaBelle <LABELLE@halloransage.com>

       Jeff,

       In accordance with Judge Spector's directives, we are continuing our efforts to resolve this discovery dispute with you. During the discovery hearing you claimed for the first time that you
       believed Universitas' identification of BASI as a record custodian was unclear. Universitas thus seeks to clarify its position. The intended record custodians are Wayne Bursey, Jackie
       Robinson, and Matt Westcott. However, these people are either deceased or terminated, and thus cannot presently serve as record custodians. However, these persons were all records
       custodians during the timeframe provided by the Court, and their emails still exist and are subject to discovery. We believe it is entirely straightforward that responsive emails for these
       persons emails must be produced. Universitas is not seeking any emails other than emails to/from those three persons. Should GMP produce these emails without court involvment,
       Universitas will withdraw its request for Kathy Kehoe's emails.

       Universitas maintains that GMP must produce these emails. However, Universitas is not opposed to these emails being produced by BASI independent from its role as GMP record
       custodian. In the absence of the production of these emails, Universitas will move to compel the production of these emails. Please let us know your position. Thanks.

       Best Regards,

       Ben Chernow

       Reply       Reply all   Forward
                                                                                                                                                                                                       Case 3:20-cv-00738-JAM Document 198-2 Filed 10/15/21 Page 15 of 49
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  From:    robinsonesq@aol.com
Subject:   100 Grist Mill
   Date:   July 7, 2007 at 1:52 PM
     To:   dancarpenter@benistar.com, mcarpenter@benistar.com, wbursey@benistar.com, RobinsonEsq@aol.com

       After reviewing the docs, here's my reading of the situation:

       Issue #1: Section 20.6 of the original Lease states that we have to give written notice of our option to purchase not later than 90 days
       prior to August 31, 2007 - or not later than Monday, June 4, 2007 (the 90th day actually falls on Sunday, June 3rd, but if the deadline
       starts on a weekend or holiday, it goes to the next business day).

       Comment #1: I agree with Wayne that we hand deliver a letter on Monday formally exercising the option to purchase which
       references our previous email (see attached draft - hopefully we can find an email that predates June 4th). This satisfies our
       obligation and puts them on formal notice that we intend to purchase. This will also allow both parties to comply with Section 20.7 of
       the Lease, which says a closing of the sale must take place within 90 days following receipt by EBI of our notice. This will allow both
       parties to close before August 31, 2007 without running afoul of the deadline. Also, new Section 3A (added by the First Amendment)
       gives us the right to extend our existing lease by up to 90 days if the closing doesn't occur by August 31st due to EBI's default.




           EBI Letter.doc
              Zero KB
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       EXHIBIT
          7
" Reply all    !     # Delete       $ Junk     Block   )




RE: Universitas v. GMP

  %     You replied on Tue 9/28/2021 2:00 PM

  You replied on Tue 9/28/2021 2:00 PM
       Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
 JS                                                                                                                                                                             &   '   "   (   )
       Tue 9/28/2021 11:23 AM
       To: Ben Chernow
       Cc: Lawrence Grossman <lgrossman@gs-lawfirm.com>; Joseph Manson; Dan E. LaBelle (labelle@halloransage.com); Michael R. McPherson <mcpherson@halloransage.com> +1 other


       Attorney Manson:

       The following responds to your letter of September 21, 2021. That letter contains massive amounts of erroneous information, misstatements of fact and
       law, and incorrect statements concerning GMP’s position. I will now set the record straight:

           1. ECF No. 163, which is the Court’s recapitulation of a status conference regarding discovery, does not contain any order requiring GMP to any search terms
              Universitas seeks to unilaterally impose.

           2. GMP has produced all documents responsive to the production requests and Judge Spector’s order, other than emails for which Plaintiff was required to identify
              record custodians and search terms.

           3. Plaintiff elected to use incredibly board search terms in its request. As a result, a massive number of emails were swept up in the search, including emails between
              counsel.
           4. GMP has no objection to producing a privilege log that complies with the local rules and best practices. This does not mean that GMP has to produce or log
              documents responsive to an overly broad list of search terms, including search terms that appear calculated to seek privileged communications.
           5. Because Plaintiff appears to be unwilling to limit its search terms in any reasonable manner, we will produce a privilege log we believe addresses your non-
              objectionable document requests prior to the next hearing so any issues can be addressed to Judge Spector.

       Following we address your specific comments in your letter:

       GM Partners refuses to produce emails from various record custodians identified by Universitas. At the recent discovery hearing, you indicated that the
       only record custodian that GM Partners objects to is Benistar Admin Services, Inc. (“BASI”). Prior to the discovery hearing, GM Partners objected to Kathy
       Kehoe as a record custodian and refused to produce Ms. Kehoe’s emails. To the extent GM Partners no longer objects to Ms. Kehoe as a record
       custodian, Universitas requests that you produce her emails.
                                                                                                                                                                                                    Case 3:20-cv-00738-JAM Document 198-2 Filed 10/15/21 Page 23 of 49




                We are reviewing the issue of whether one or more of the objected to record custodians are GMP record custodians and will respond further.
                However, my client has again confirmed that Kathy Kehoe was not working for GMP.

       Your objection to BASI as a record custodian is premised upon a factual inaccuracy. As Universitas explained in its letter dated August 30, 2021, BASI is a
" Reply all   !    # Delete        $ Junk   Block     %




RE: Universitas v. GMP

       Your objection to BASI as a record custodian is premised upon a factual inaccuracy. As Universitas explained in its letter dated August 30, 2021, BASI is a
       record custodian for GMP and GMP must produce the requested emails.

               We are evaluating this new position of yours. However, because you sued BASI as an entity, I am not sure why you are seeking these documents
               from GMP.

       GM Partners has consistently objected to the production of a privilege log by claiming that the
       search terms are too broad and would burden GM Partners by requiring GM Partners to include in its privilege log every email from you concerning any
       development in the above-captioned
       litigation.

               This is a misstatement of our position. GMP has no objection to producing a privilege log. However, it needs to be limited to what is required by the
               rules.

       However, as you conceded at the discovery hearing, Universitas stipulated that GM
       Partners’ privilege log need not include any communications with counsel after the
       commencement of this action. As such, GM Partners would not be required to include any emails
       concerning the above-captioned action, and thus GM Partners’ objection is unfounded.

               You stated you would limit the privilege log as set forth above for the first time at the hearing. Also, Attorney Chernow, in the follow-up call that did
               not include you as a participant, indicated you would further refine the search terms to be less overbroad, by combining common terms. Once you
               do this, we can run the searches and produce a privilege log that is consistent with the rules.

       In the future, I would appreciate if you confine your arguments to actual facts and law. It will make it much easier to get through this case.




                                       Jeffrey M. Sklarz
                                       Phone: (203) 285-8545 x101
                                       Direct Dial: (203) 361-3135
                                                                                                                                                                           Case 3:20-cv-00738-JAM Document 198-2 Filed 10/15/21 Page 24 of 49




                                       Fax: (203) 823-4546
              www.gs-lawfirm.com       jsklarz@gs-lawfirm.com

                                       New Haven Office
                                       One Audubon Street, 3rd Floor, New Haven, CT 06511
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 1                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 2

 3

 4      JOSEPH IANTOSCA, et al.,               )
                           Plaintiffs,         )
 5                                             )
                                               )
 6      vs.                                    ) CA No. 08-11785-NMG
                                               )
 7                                             )
        BENISTAR ADMINISTRATIVE                )
 8      SERVICES, INC., et al.,                )
                           Defendants.         )
 9

10
        BEFORE:   THE HONORABLE NATHANIEL M. GORTON
11

12
                                DAY TWO OF JURY TRIAL
13

14

15
                   John Joseph Moakley United States Courthouse
16                                 Courtroom No. 4
                                One Courthouse Way
17                                Boston, MA 02210
                              Tuesday, March 27, 2012
18                                   9:10 a.m.

19

20

21                           Cheryl Dahlstrom, RMR, CRR
                              Official Court Reporter
22                 John Joseph Moakley United States Courthouse
                           One Courthouse Way, Room 3209
23                                Boston, MA 02210
                     Mechanical Steno - Transcript by Computer
24

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         1      (Jury in at 11:45 a.m.)

         2                THE COURT:     Good morning again, jurors.       We're ready

         3      to resume.    I just want to announce that at some stages in

         4      cases the parties have depositions read.         A deposition is a

         5      sworn hearing at which the deponent, the one who's being

         6      questioned, is under oath just as he or she would be in court.

         7      But rather than bringing them into court, it is sometimes more

         8      convenient to go through the reading of a deposition.

         9                Now, rather than have an attorney read question,

11:45   10      answer, question, answer, we put somebody who isn't the

        11      deponent but plays the role of the deponent on the witness

        12      stand.   And then the attorney reads the question and the one

        13      who plays the deponent will read the answers.          That's what

        14      we're going to do now for the next little while.           When the

        15      plaintiff calls that person, we will not swear the person, but

        16      he will be playing the role of the deponent.          Mr. Zelle.

        17                MR. ZELLE:     Yes.   Members of the jury, my partner, Mr.

        18      Evans, will read the questions which were asked to Daniel

        19      Carpenter.    And my paralegal -- his name is Colby Hetnar --

11:46   20      will sit in the witness box and basically pretend to be Mr.

        21      Carpenter reading his answers.

        22                THE COURT:     Yes.   He may come forward.      For the

        23      record, your name, sir?

        24                THE WITNESS:     Colby Hetnar.

        25                THE COURT:     Mr. Hetnar, please have a seat.
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         1                   You may proceed, Mr. Evans.

         2                   MR. EVANS:   Ladies and gentlemen, the first reading is

         3      from trial testimony of Mr. Daniel Carpenter that was given on

         4      December 18 of 2006, in the case -- the name of the case was

         5      DeAngelis vs. Commissioner of the Internal Revenue Service.

         6      (Testimony read as follows:

         7      Q.    Okay.    Are you familiar with the Benistar group of

         8      companies, I'll call it now, because I understand there are a

         9      large number of entities?

11:47   10      A.    Yes.

        11      Q.    Were you employed by those entities?

        12      A.    Never on a W-2 basis but, yes, I was an officer of several

        13      of the Benistar entities.

        14      Q.    Mr. Carpenter, I would like now to turn to the work that

        15      you did for the Benistar companies up until -- I believe you

        16      said it was January 2004.       You indicated that you were an

        17      officer of the companies.       What officer were you?

        18      A.    I was chairman of Benistar Ltd. and chairman of Benistar

        19      419 Plan Services and chairman of Step Plan Services, Inc.

11:47   20      Q.    What about Benistar Ltd.?

        21      A.    Benistar Ltd., I was the chairman and the secretary.         I

        22      don't believe there were any other officers.

        23      Q.    Now, you indicated that you were chairman or an officer of

        24      these companies but not on a W-2 basis.         What does that mean?

        25      A.    The genesis of Benistar Admin Services, Inc., and Benistar
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         1      the top of the food chain in this example is Carpenter

         2      Financial Group, Inc.

         3      Q.      Okay.   Who is the owner of that particular company?

         4      A.      Carpenter Financial Group, Inc., is 100 percent owned by

         5      an employee stock ownership plan.

         6      Q.      How many employees are in that employee stock ownership

         7      plan?

         8      A.      Just one.

         9      Q.      Who is that employee?

11:52   10      A.      Just myself, your Honor, and I do have W-2 income from

        11      Carpenter Financial Group.

        12      Q.      Okay.   Now, who ran or administered the Step Plan on

        13      behalf of Step Plan Services, Inc.?

        14      A.      I was the chairman, but Wayne Bursey was really the CEO.

        15      He ran the Step Plan from day one.        He was the signatory and

        16      handled most of the administrative details.

        17      Q.      Now, you mentioned that there are other entities

        18      associated with what I've been calling the Benistar group of

        19      companies.      Approximately how many companies overall are part

11:53   20      of this group?

        21      A.      Well, it's hard to say what is an affiliate.        In other

        22      words, who is an affiliate and who is in the direct ownership

        23      role?    But I'm going to say that Benistar Admin Services is at

        24      the hub of about a half dozen to a dozen different companies.

        25      Q.      Are the employees of Step Plan Services, Inc., separate
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         1      and apart from the employees of Benistar Admin?

         2      A.    No.   They are all Benistar Admin employees.

         3      Q.    They are Benistar Admin employees.        But when they provide

         4      services, they are providing them on behalf of Step Plan

         5      Services, Inc.?

         6      A.    Exactly.

         7                  MR. EVANS:    The next testimony you'll hear which is

         8      being read for Dan Carpenter is testimony that Dan Carpenter

         9      gave at a deposition under oath on Monday, June 18 of 2007.         It

11:54   10      was in -- the deposition was in a case that was pending in the

        11      United States Tax Court.

        12      (Deposition read as follows:

        13      Q.    You were saying that Benistar 419 Plan Services, Inc., has

        14      no employees?

        15      A.    No employees.      It is just a sponsor.

        16      Q.    Who owns Benistar Group Ltd.?

        17      A.    I don't know.

        18      Q.    You don't know?

        19      A.    No.

11:54   20      Q.    Do you own it?

        21      A.    No.

        22      Q.    Do you have a beneficial interest in Benistar Group Ltd.?

        23      A.    No, not that I know of.

        24      Q.    What was your role in coming up with the terms of the

        25      Benistar 419 Plan and putting together the paperwork to make it
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         1      Q.    Who decided that Ms. Kehoe would be the affiant for the

         2      Benistar Admin family?

         3      A.    I believe it was my recommendation, and I believe it was

         4      Molly Carpenter's decision.

         5                  MR. EVANS:    On Page 84, there's a portion of your

         6      answer there.    Could you read that, Mr. Carpenter [sic].

         7      A.    And Benistar.      And the reason I used the "we" term, it

         8      really is a big family.      So there's a lot of different

         9      entities.     Everybody kind of works or is associated with

12:16   10      Benistar.

        11      Q.    All I want to know is if he gets a W-2 from Benistar Admin

        12      Services or BPA.

        13      A.    BPA doesn't do any W-2s.

        14      Q.    Okay.

        15      A.    All paychecks and payroll are handled by Benistar Admin

        16      Services.     Well, BPA was formed to take advantage of a unique

        17      opportunity in the marketplace.        Because of my involvement in

        18      other legal proceedings in February of 2004, I became somewhat

        19      persona non grata in the insurance industry.          And even though

12:16   20      I've been vindicated and all the terrible things that have

        21      happened to me over the last four years, and I've basically

        22      come out on top, we've been told by certain insurance carriers

        23      that Dan Carpenter shouldn't have anything to do with Grist

        24      Mill Trust any of the other trusts.        So we've literally had

        25      good friends of ours with big insurance companies who have
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         1      said, Don't have Dan have anything to do with BPA or the Grist

         2      Mill Trust or these other things.        So it's very hurtful, but

         3      that's the way business is.

         4                  So I've -- I voluntarily stepped down from everything

         5      Benistar in January 2004.       Kind of doing the Martha Stewart

         6      thing, you know, what I thought was the right thing to do.         But

         7      I definitely have been told by people not to be associated with

         8      BPA in any way, shape or form because BPA does so much work

         9      with several insurance companies who have said that if Dan

12:17   10      Carpenter is involved, we can't work with you.

        11                  So Guy Neumann runs a very tight line of basically

        12      being able to say to the insurance companies, Dan has nothing

        13      to do with this, but he knows that I was the -- I was the

        14      architect of Grist Mill Trust and all of the other welfare

        15      benefit trusts.     But, you know, we really try to stick to it,

        16      and I don't have anything to do with the day-to-day running of

        17      BPA.

        18      Q.     Does BPA have any employees?

        19      A.     Not in the true -- everybody -- as I testified earlier,

12:18   20      everybody other than me gets a paycheck from Benistar Admin

        21      Services.    I don't get anything from Benistar Admin Services.

        22      But there is no BPA payroll.

        23      Q.     Now, was Kenneth Palmer a broker?

        24      A.     He was the king of brokers.      He was the -- I would have

        25      called -- if you had asked me -- if you had asked me Ken's
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